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                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                              NORTHERN DIVISION

 UNITED STATES OF AMERICA                                                    PLAINTIFF

 V.                                   CIVIL ACTION NO.: 3:24-cv-00712-HTW-ASH

 MISSISSIPPI STATE SENATE                                                  DEFENDANT


 AMENDED MOTION TO STAY THE ENTIRETY OF THE PROCEEDINGS,
     INCLUDING THE DEADLINE FOR RESPONSIVE PLEADING
                      (UNOPPOSED)



             Defendant, Mississippi State Senate (“Senate”), files this Amended Motion to

  Stay the Entirety of the Proceedings, which is unopposed, to allow the Trump

  administration the opportunity to fully review this matter. Specifically, the

  Defendant moves for an entry of an Order:

             1.    Staying all proceedings for ninety days from the entry of the Order;

             2.    Explaining the purpose of the Stay is to allow the Plaintiff, in

  accordance with the Department of Justice’s January 22, 2025, internal

  memorandum, to review this matter, including whether the alleged discriminatee is

  exempt from Title VII of the Civil Rights Act of 1964. (Ex. A, Doc. 14).

             3.    Providing the Senate shall have the right to seek an extension of the

  Stay if Plaintiff, at least seven days prior to the Stay’s expiration, has not provided

  written confirmation to the Senate that the purpose of the Stay, noted above, has




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been completed, and in that event, the Plaintiff shall not unreasonably withhold its

consent to any necessary extension of the Stay.

      4.     Counsel for the United States of America does not oppose this Motion.

      5.     This Motion is not filed for purposes of delay, but rather to conserve

the Court’s and the parties’ resources. Due to the relatively simple nature of the relief

requested and the fact the motion is unopposed, the Senate requests the Court not

require it submit a memorandum brief.

     Respectfully submitted February 25, 2025.

                                          MISSISSIPPI STATE SENATE


                                    BY: s/ Armin J. Moeller, Jr.
                                        Attorney for Mississippi State Senate

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                         CERTIFICATE OF SERVICE

      I hereby certify that I electronically filed the foregoing with the Clerk of the

Court using the CM/ECF system and service will be perfected upon the following

CM/ECF participant(s) electronically on February 25, 2025.


                                       s/ Armin J. Moeller, Jr.
                                       Of Counsel




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